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 7                      UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                           2:15-cr-00014-APG-VCF
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                            Plaintiff,                  GOVERNMENT’S RESPONSE
11                                                      TO DEFENDANT’S
                vs.                                     OBJECTIONS (ECF Nos. 398,
12                                                      399 1)
     OMAR QAZI,
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                           Defendant.
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           The United States of America, by and through DAYLE ELIESON, United States
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     Attorney, and CRISTINA D. SILVA, Assistant United States Attorney, and files this
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     timely response to Defendant’s Objection to Magistrate Judge Cam Ferenbach’s Order
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     (ECF No. 396) addressing Defendant’s motion for a new private investigator which was
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     titled “Amended Witness List” (ECF No. 395).
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           The United States does not have access to the document entitled “Amended
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     Witness List.” However, it has reviewed the Defendant’s objections to Magistrate
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     Judge Ferenbach’s Order (ECF Nos. 398 and 399). If the underlying filing contains the
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     same information in the Defendant’s Objections, the Government concurs with the
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           1      ECF No. 399 is a duplicate filing of ECF No. 398.


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 1   Magistrate Judge’s finding that the Defendant’s filing, ECF No. 395, is procedurally

 2   improper and that it fails to provide sufficient information to show a new investigator

 3   should be assigned to his case. Moreover, assuming the arguments are the same or

 4   substantially similar, the Defendant failed to include points and authorities supporting

     his request for a new investigator. Instead, his filing suggests, in conclusory fashion,
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     that he is entitled to a new investigator. See generally ECF No. 398 and 399 at 1-2.
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     Failure to file points and authorities constitutes a consent to the denial of the motion.
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     See LR 7-2(d). Consequently, the United States respectfully requests that the Court
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     overrule Defendant’s objections to his mistitled motion for a new investigator and
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     adopt Magistrate Judge Ferenbach’s Order.
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           In the same filings (ECF Nos. 398, 399), the Defendant makes a request for new
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     stand-by counsel. Defendant’s provides little information regarding his attempts to
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     contact stand-by counsel. Instead, he summarily states that the last time he had
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     contact with counsel was in November of 2017 is justification for new stand-by counsel,
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     and further includes a list of accusations that suggest Ms. Williams (amongst others)
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     might have a conflict of interest. See generally ECF Nos. 398 and 399 at 2-3. Putting
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     aside the unsupported accusations, and assuming that the arguments in the
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19   underlying filing (ECF No. 395) are the same or substantially similar, this too is

20   procedurally improper and Defendant again failed to provide points and authorities to

21   support the relief he is seeking. Accordingly, Defendant consents to the denial of the

22   motion. See LR 7-2(d). The United States respectfully requests that the Court overrule

23   Defendant’s Objections and deny his mistitled motion for new standby counsel.

24         Should the Court seek additional briefing on this issue, the United States


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 1   respectfully leave of Court to file additional briefing, and also respectfully requests a

 2   copy of Defendant’s “Amended Witness List.”

 3         Dated 28th day of February, 2018.

 4                                                       DAYLE ELIESON
                                                         United States Attorney
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                                                          /s/ Cristina D. Silva
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                                                         CRISTINA D. SILVA
 7                                                       Assistant United States Attorney

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 1                              CERTIFICATE OF SERVICE

 2         The undersigned hereby certified that a copy of this filing was served on

 3   Defendant Qazi via United States mail addressed to:

 4   Mr. Omar Qazi #49760048
     NSDC 2190 East Mesquite Avenue
     Pahrump, Nevada, 89060
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 6
     And on stand-by counsel Telia Williams, Esq., via electronic service by ECF, on this
 7   date, February 28, 2018.

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     DATED:       February 28, 2018.
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10                                                        /s/ Cristina D. Silva
11                                                       CRISTINA D. SILVA
                                                         Assistant United States Attorney
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